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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA



   United States of America,

                                  Plaintiff,
                                                      Docket No. 0864 0:20CR00129-001(NEB)
               v.

   Samuel Elliott Frey,                                            Order Modifying
                                Defendant,                    Conditions of Pretrial Release




IT IS HEREBY ORDERED that the following be added to the defendant’s conditions of release:

The defendant shall complete a substance abuse assessment within 30 days and participate in a
program for substance abuse as approved by the supervising officer.

All other conditions of release as previously imposed shall remain in effect.


Dated: July 20, 2021                              s/Nancy E. Brasel
                                                  Nancy E. Brasel
                                                  U.S. District Judge
